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GAS 245B          (Rev. 09/I1) Judgment in a Criminal Case
DC Probation      Sheet I



                                          UNITED STATES DISTRICT COURT
                                                        SOUTHERN DISTRICT OF GEORGIA
                                                             SAVANNAH DIVISION
               UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                  V.                                      )
                  Michael Dewayne Jackson                                 )
                                                                                  Case Number:             4:13CR00007-19
                                                                                  USM Number:              17835-021
                                                                                                                             C)
                                                                                  Keith Higgins               -
                                                                                  Defendant's Attorney                       rn
THE DEFENDANT:                                                                                                          rj

    pleaded guilty to Count        51s

E pleaded nolo contendere to Count(s)               -        which was accepted by the court.
                                                                                                                                     0
                                                                                                                                               c,rl
El was found guilty on Count(s) --- -- after a plea of not guilty.
                                                                                                                                     —
                                                                                                                                                 CD
                                                                                                                       >                       CD
The defendant is adjudicated guilty of this offense:                                                                                     .-.
                                                                                                                                  co           —I
Title & Section                   Nature of Offense                                                               Offense nded                 Count

21 U.S.C. § 843(b)                Use of communication facility to cause and facilitate a drug                    October 19, 2012              51s
                                  trafficking crime




      The defendant is sentenced as provided in pages 2 through               5   oithis judgment. The sentence is imposed purstoult to the
Sentencing Reform Act of 1984.

El The defendant has been found not guilty on Count(s)

    Counts      Is, 49s, 50s, 52s, 53s, and 54s - El          is    0     are dismissed as to the defendant on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          November 3, 2014
                                                                          Date of Imposition of Judgment



                                                                          Signature of Judge




                                                                          William T. Moore, Jr.
                                                                          Judge, U.S. District Court
                                                                          Name and Title of Judge



                                                                          Date
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DC Probation            Sheet 4– Probation

DEFENDANT:                    Michael Dewayne Jackson
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                                                                   PROBATION
  The defendant is hereby sentenced to probation for a term of: 5 years.

 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
D           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check. if applicable.)


I
F-14



D
            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check efapplicabk.)
            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable)
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense.   (Check, if applicable)
E           The defendant shall participate in an approved program for domestic violence. (Check, if applicable)
        If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedul
of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additionr'
conditions on the attached page.
                                          STANDARD CONDITIONS OF SUPERVISION
       I) the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)   the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)   the defendant shall support his or her dependents and meet other family responsibilities;
       5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or oth.
            acceptable reasons;
       6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)   the defendant shall not frequent places where controlhd substances are illegally sold, used, distributed, or administered;
      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
       9)
      a felony, unless granted permission to do so by the probation officer;
  10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation c
      any contraband observed in plain view of the probation officer;
  11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforceme
      officer;
  12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
      permission of the court; and
  13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendan:
      criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and
      confirm the defendant's compliance with such notification requirement.
  14) any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release.
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DC Probation       Sheet 4C - Probation

DEFENDANT:               Michael Dewayne Jackson
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                                       SPECIAL CONDITIONS OF SUPERVISION
          I. The defendant shall participate in a program of testing for drug and alcohol abuse. Further, the defendant shall
              not tamper with any testing procedure.

         2     The defendant shall complete 40 hours of community service during the first 12 months of supervision.

               The defendant shall submit his person, property, house, residence, office, papers, vehicle, computers (as defined
               in 18 U.S.C. § 1030(e)(1)), or other electronic communications or data storage devices or media, to a search
               conducted by the United States Probation Officer at a reasonable time and in a reasonable manner, based upon
               reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
               search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be
               subject to searches pursuant to this condition.

          4    The defendant shall earn a General Educational Development diploma within the first two years of supervision.

                                                    ACKNOWLEDGMENT

Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




   (Signed)
                    Defendant                                                          Date




                     U.S. Probation Officer/Designated Witness                          Date
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DC Probation      Sheet 5B - Criminal Monetary Penalties

DEFENDANT:               Michael Dewayne Jackson
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                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                           Fine                                 Restitution
TOTALS           $ 100                                             $ None                                    $ Not applicable

0      The determination of restitution is deferred until -                                  An Amended Judgment in a Criminal Case (AO 245C)
       will be entered after such determination.

0      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless spedT i
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfed?1
       victims must be paid before the United States is paid.

Name of Payee                                 Total Loss*                             Restitution Ordered                Priority or Percentage




TOTALS                               $                                           $

0       Restitution amount ordered pursuant to plea agreement $

0      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before th'
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subjec''
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      D the interest requirement is waived for the             0   fine              D restitution.
       0 the interest requirement for the             0 fine       LI restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
after September 13, 1994, but before April 23, 1996.
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DC Probation       Sheet 6A - Schedule of Payments

DEFENDANT:                Michael Dewayne Jackson
CASE NUMBER:              4:13CR00007-19


                                                        SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A N Lump sum payment of$ 100                                     due immediately.

           El not later than                                         , or
           El in accordance 0 C,                [j D,         El E, or    El F below; or
B    El Payment to begin immediately (may be combined with                    El C,        0 D, or           0 F below); or

C    El Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                            over a period of
           _________ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    0 Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E 0 Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    0 Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Finaa ial
Responsibility Program, are made to the clerk of the court.

Pursuant to 18 U.S.C. § 3563(a)(7), the defendant shall notify the Court of any material change in the defendant's economic circumstu -es
that might affect the defendant's ability to pay restitution, fines, or special assessments.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

0      Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.



El     The defendant shall pay the cost of prosecution.

El     The defendant shall pay the following court cost(s):

El     The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.



                                                                                                                                                     ip
